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                         UNITED STATES DISTRICT
                        COURT FOR THE DISTRICT OF
                               COLUMBIA


UNITED STATES OF AMERICA                     :
                                             :
       v.                                    : CRIMINAL NO. 21-mj-188
                                             :
RYAN SAMSEL,                                 :
    Defendant.                               :


    CONSENT MOTION TO CONTINUE PRELIMINARY HEARING AND FOR
                       EXCLUDABLE DELAY

       The United States of America, by and through its attorney, the United States Attorney

for the District of Columbia, respectfully files this Consent Motion to Continue the Preliminary

Hearing in the above-captioned matter to May 7, 2021. The Government and the defendant

agree that there is good cause to extend the complaint in this case from January 29, 2021 to

May 7, 2021, and to adjourn the preliminary hearing in this case to May 7, 2021. Defendant

concurs in this request and agrees that it is in his best interest. In support thereof, the

government states as follows:

   1. The government and counsel for the defendant have conferred, and are continuing to

       communicate in an effort to resolve this matter. The current restrictions on counsel,

       particularly those impacting defense counsel’s ability to communicate with her client,

       have slowed this process. Moreover, the defendant contracted COVID-19 while

       incarcerated, making him unavailable to defense counsel for three weeks and resulting

       in additional delay. The parties agree that the complaint will remain in full force and

       effect through the new date of May 7, 2021. The parties agree that this stipulation and

       any order resulting therefrom shall not affect any previous order of pretrial detention

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   or pretrial release.

2. The parties, therefore, would respectfully request that the preliminary hearing and the

   date by which an information or an indictment must be filed be continued until May 7,

   2021. The parties agree that the failure to grant this continuance “would deny counsel

   for the defendant . . . the reasonable time necessary for effective preparation, taking

   into account the exercise of due diligence,” 18 U.S.C. § 3161(h)(7)(B)(iv). Therefore,

   “the ends of justice served by the granting of such continuance [will] outweigh the best

   interests of the public and the defendant in a speedy trial,” 18 U.S.C. § 3161(h)(7)(A),

   and the parties request an order to that end. The parties agree that pursuant to 18 U.S.C.

   § 3161, the time from April 1, 2021 through May 7, 2021, shall be excluded in

   computing the date for speedy trial in this case.




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Wherefore, the parties respectfully request that the Court continue the Preliminary Hearing in

this matter until May 7, 2021.

                                   Respectfully submitted,

                                   CHANNING D. PHILLIPS
                                   ACTING UNITED STATES ATTORNEY



                            By:    /s/ April N. Russo
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